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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK                                                                07/01/2021
---------------------------------------------------------------------- x
 CHEMOIL CORP.,                                                        :
                                                                       :
                                             Plaintiff,                :
                                                                       :   19-cv-6314 (ALC)
                  -against-                                            :
                                                                       :   ORDER
 THE UNITED STATES OF AMERICA,                                         :
                                                                       :
                                             Defendant.                :
                                                                       :
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 ANDREW L. CARTER, JR., District Judge:

          In accordance with today’s conference, the deadline to submit the joint pretrial order is

 adjourned sine die. The parties are hereby ORDERED to submit a joint status report by no later

 than August 2, 2021.



 SO ORDERED.


 Dated:            July 1, 2021
                   New York, New York


                                                      ____________________________________
                                                            ANDREW L. CARTER, JR.
                                                            United States District Judge
